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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 19-23734-CIV-ALTONAGA/Goodman

  ANNETTE DOUGLAS,

          Plaintiff,
  vs.

  CARNIVAL CORPORATION,

        Defendant.
  _____________________________/

                         ADMINISTRATIVE ORDER CLOSING CASE

          THIS CAUSE came before the Court on Carnival Corporation’s Unopposed Motion for

  Stay, filed on March 25, 2020 [ECF No. 21]. Defendant seeks a stay of this matter because of

  Coronavirus-related travel and meeting restrictions; Plaintiff does not oppose the Motion. (See

  generally id.). Given the inability to proceed with the orderly progress of the case due to the

  uncertainty regarding the duration of the restrictions, and to conserve the parties’ and judicial

  resources, it is

          ORDERED AND ADJUDGED that the Clerk of the Court is DIRECTED to mark this

  case CLOSED for statistical purposes only.          All motions are denied as moot. The Court

  nonetheless retains jurisdiction, and the case shall be restored to the active docket upon court order

  following motion of the parties (with an accompanying proposed scheduling report) advising they

  are prepared to proceed. This Order shall not prejudice the rights of the parties to this litigation.

          DONE AND ORDERED in Miami, Florida, this 26th day of March, 2020.


                                                            _________________________________
                                                            CECILIA M. ALTONAGA
                                                            UNITED STATES DISTRICT JUDGE
  cc:     counsel of record
